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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        Chapter 11
In re:
                                                        Case No. 14-10979 (CSS)
ENERGY FUTURE HOLDINGS CORP., et al., 1
                                                        (Jointly Administered)
                          Debtors.
                                                        Objections due: February 18, 2015




                                        NOTICE OF FEE STATEMENT

                   Cravath, Swaine & Moore LLP (the “Applicant”) has today filed the attached

  First Monthly Fee Statement of Cravath, Swaine & Moore LLP for Allowance of an Administrative

  Claim for Compensation and Reimbursement of Expenses Incurred From November 16, 2014

  Through December 31, 2014 (the “Fee Statement”) with the United States Bankruptcy Court for

  the District of Delaware (the “Bankruptcy Court”).

                   Objections, if any, to the Fee Statement must be made in accordance with

  the Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses

  for Professionals, dated September 16, 2014 [D.I. 2066] (the “Administrative Order”)

  and must be filed with the Clerk of the United States Bankruptcy Court for the District

  of Delaware, 824 North Market Street, Wilmington, DE 19801, and be served upon

  and received by the undersigned and by (i) the above-captioned debtors and debtors in

  possession (collectively, the “Debtors”), Energy Future Holdings Corp., et al., 1601

  Bryan Street, 43rd Floor, Dallas, TX, 75201, Attn: Andrew M. Wright and Cecily


1 The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location

of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of
debtors in these chapter 11 cases, which are being jointly administered, a complete list of the debtors
and the last four digits of their federal tax identification numbers is not provided herein. A
complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.



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  Gooch; (ii) co-counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue,

  New York, NY 10022, Attn: Brian E. Schartz and Kirkland & Ellis LLP, 300 North

  LaSalle, Chicago, IL 60654, Attn: Chad Husnick; (iii) proposed co- counsel to the

  Debtors, Richards, Layton & Finger, P.A., 920 North King Street, Wilmington, DE

  19801, Attn: Daniel J. DeFranceschi and Jason M. Madron; (iv) Roberta A. DeAngelis,

  the United States Trustee for Region 3, J. Caleb Boggs Federal Building, 844 King

  Street, Room 2207, Wilmington, DE 19801, Attn: Richard L. Schepacarter, and U.S.

  Department of Justice, Office of the U.S. Trustee, U.S. Federal Building, 201 Varick

  Street, Room 1006, New York, NY 10014, Attn: Andrea B. Schwartz; (v) counsel for

  the agent of the EFIH First Lien DIP Financing Facility, Shearman & Sterling LLP,

  599 Lexington Avenue, New York, NY 10022, Attn: Ned Schodek and Fredric Sosnick;

  (vi) counsel for the agent of the TCEH DIP Financing Facility, Milbank, Tweed,

  Hadley & McCloy LLP, 1 Chase Manhattan Plaza, New York, NY 10005, Attn: Evan

  Fleck and Matthew Brod; (vii) counsel to the Official Committee of Unsecured

  Creditors, Morrison & Foerster LLP, 250 W. 55th Street, New York, NY 10019, Attn:

  Lorenzo Marinuzzi and Jennifer Marines; and (viii) counsel to the fee committee,

  Godfrey & Kahn, S.C., One East Main Street, Madison, WI 53703, Attn: Katherine

  Stadler, by no later than 4:00 p.m. (Eastern Standard Time) on February 18, 2015 (the

  “Objection Deadline”).

                  If any responses or objections to the Fee Statement are timely filed, served

 and received in accordance with this notice, and if such objections cannot be resolved

 as provided by the Administrative Order, a hearing on the Fee Statement and the

 objections will be held at the convenience of the Bankruptcy Court. Only those objections

 made in writing and timely filed and received in accordance with the Administrative Order
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 and the procedures described herein will be considered by the Bankruptcy Court at such

 hearing.

                  Under the Administrative Order, if no objection to the Fee Statement is

 timely filed, served and received by the Objection Deadline, the Applicant may be paid

 an amount equal to the lesser of (i) 80% of the fees and 100% of expenses requested in the

 Fee Statement or (ii) 80% of the fees and 100% of the expenses not subject to an objection

 without the need for further order of the Bankruptcy Court.

 Dated: January 28, 2015                             Stevens & Lee, P.C.

                                                     /s/ Joseph H. Huston, Jr.
                                                     Joseph H. Huston, Jr. (No. 4035)
                                                     1105 North Market Street, Suite 700
                                                     Wilmington, Delaware 19801
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                                                            and

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                                                     Independent Counsel for Energy Future
                                                     Intermediate Holding Company LLC




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